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                               THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                      BROWARD DIVISION

 DIANE L. WATSON,                       )
            Plaintiff,                  )
                                        )
 v.                                     )                 Civil Action No.
                                        )
 K2 DESIGN GROUP, INC.,                 )                 0:15-cv-61020
 JENNY PROVOST, KELLYE KEEGAN,          )
 SUSAN MARCOVITCH, AND                  )
 LEONARD MARCOVITCH                     )
                                        )
              Defendants.               )
 _______________________________________)


                                      COMPLAINT FOR DAMAGES

            Plaintiff DIANE L. WATSON hereby files this complaint against Defendants K2DESIGN
 GROUP, INC., JENNY PROVOST, KELLYE KEEGAN, SARAH MARCOVITCH and LEONARD
 MARCOVITCH for damages, and in support thereof, states:

                                      JURISDICTION AND VENUE

            1.    This is an action for copyright infringement pursuant to 17 U.S.C. §§ 101, et seq., in
 which Plaintiff seek recovery of costs, damages and injunctive relief for the Defendants’ copyright
 infringement.

            2.    Subject-matter jurisdiction herein is proper as this matter arises under the United States
 Copyright Act, 17 U.S.C. §§ 101 et seq.

            3.    Plaintiff DIANE L. WATSON is an individual residing within the Southern District of
 Florida.

            4.    Defendants SARAH MARCOVITCH AND LEONARD MARCOVITCH are individuals
 residing in the Southern District of Florida.

            5.    Defendant K2 DESIGN GROUP, INC. is a Florida corporation with its headquarters in
 Florida. The company conducts business nationally and in several countries throughout the world. K2
 DESIGN GROUP, INC. has availed itself of personal jurisdiction in the Southern District of Florida. The
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 company’s clients include co-defendants SARAH and LEONARD MARCOVITCH who both reside
 within the Southern District of Florida

         6.      K2 DESIGN GROUP, INC. owns and operates the website www.k2design.net which is
 published globally and allows customers and/or potential customers around the world and in the Southern
 District of Florida to view K2 DESIGN GROUP, INC.’s portfolio of architectural designs.

                                                 FACTUAL ALLEGATIONS
                                                      Plaintiff Artist


         7.      Plaintiff is a visual artist.
         8.      Plaintiff is the registered copyright owner of several visual works. Plaintiff’s vast
 collection of artwork is interspersed with her trademark images of mariposa butterflies. Plaintiff’s designs
 are so in demand that renowned fashion designer Tabitha Simmons licensed one of her paintings in
 December 2012. Ms. Simmons imprinted the licensed image on fabric and used the imprinted image to
 design shoes for her Spring/Summer 2013 collection. Shoes with Plaintiff’s featuring Plaintiff’s design
 were part of Tabitha Simmons’ collection for her 2013 New York Fashion Week show.
         9.      Plaintiff’s works are also frequently commissioned and sold to private collectors.
         10.     Plaintiff’s artwork is prominently displayed on her website www.dlwatsonart.com where
 customers may purchase paintings or prints.
                                                    The Subject Works


         11.     Plaintiff is the creator and copyright owner of the following works:


                 Title of Work
                 Mariposa
                 Crescendo
                 Staccato
 Pursuant to the United States copyright laws, Ms. Watson obtained copyright registrations for Mariposa.
 In addition, Plaintiff enjoys inherent copyright protection for the Crescendo and Staccato artworks. The
 above-mentioned works shall be referred to collectively as the “Subject Works”.
         12.     A true and correct copy of the certificate of registration or registration information for
 Mariposa is attached hereto as EXHIBIT “A”.
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                                                   Acts of Infringement


         13.      Defendant’s engaged in multiple acts of infringement which include the ongoing
 unlicensed publication of Subject Works in print and social mediums as well as the egregious duplication
 of Subject Works via the creation of counterfeit and unauthorized copies of the Subject Works.
         14.      At the center of the issue is the unauthorized copying of the Mariposa by Defendant
 KELLYE KEEGAN at the request of SUSAN MARCOVITCH and LEONARD MARCOVITCH.
         15.      On or about April 10th 2013, JENNY PROVOST advised Plaintiff that in 2012
 defendants clients of PROVOST/K2 DESIGN GROUP, INC., SUSAN and LEONARD MARCOVITCH
 (referred to hereinafter as “the MARCOVITHS”), gained access to Plaintiff’s Mariposa image.
         16.      The MARCOVITCHS expressed their like for the Mariposa to PROVOST but rather
 than commission renditions of the of the Mariposa from Plaintiff, SUSAN and LEONARD
 MARCOVITCH commissioned KELLYE KEEGAN, daughter and assistant of JENNY PROVOST, to
 make four (4) unauthorized copies of the Mariposa.
         17.      Subsequently the MARCOVITCHS’ residence was redesigned and included the four (4)
 counterfeit copies of the Mariposa.
         18.      Depictions of K2 DESIGN GROUP INC.’s designs featuring the unauthorized
 Mariposas, have been and continue to be featured on ASID’s website, social media sites, as well as
 editorials in the print and online versions of the following trade magazines; FLORIDA DESIGN,
 FORIDA DESIGN BRAZIL, MIAMI DESIGN, and GULFSHORE LIFE.
         19.      K2 DESIGN GROUP INC.’s portfolio of designs which includes unauthorized copies of
 the Mariposa has become the cornerstone of K2 DESIGN GROUP, INC.’s marketing and advertising
 efforts as the design is used to advertise the services of PROVOST and K2 DESIGN GROUP, INC. via
 the K2 DESIGN GROUP, INC. website, social media sites, and various versions of the FLORIDA
 DESIGN magazine from as early as December 2013 (SEE EXHIBIT “B”).
         20.      In all the editorials in which the unauthorized copies are featured KEEGAN is credited as
 the artist for the Mariposa and there is no mention of the Plaintiff.
         21.      The re-design of the MARCOVITCHS’ residence with the Mariposas as a key
 component has now become synonymous with K2 DESIGN GROUP, INC. Anywhere that K2 DESIGN
 GROUP, INC. is featured online utilizes the design as an example of K2 DESIGN GROUP, INC.’s work
 and prominently boasts the counterfeit Mariposas credited to KEEGAN.
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         22.      Plaintiff also contacted PROVOST on November 13, 2014 inquiring why her artwork
 Crescendo, featured on www.dlwatsonart.com and sold to a private collector in California, appeared on
 the K2 DESIGN GROUP, INC. website as part of a 3D artistic rendering (SEE EXHIBIT “C”).
         23.      In response, PROVOST claims that the Plaintiff authorized the 3D presentation of
 Crescendo for a new construction project in Sarasota, Florida. PROVOST also claimed that the client was
 impressed by Plaintiff’s work and was seeking to commission artwork from Plaintiff.
         24.      At no time did Plaintiff authorize PROVOST to copy Crescendo or any other paintings
 for use on the K2 DESIGN GROUP, INC. website, any other website, or other form of media
                                               Knowledge and Willfulness


         25.      On or about March 26, 2013, Plaintiff noticed her Mariposa painting in one of the design
 trade magazines and immediately contacted PROVOST informing PROVOST that she and her team had
 made unauthorized copies or derivatives of her work.
         26.      On or about April 10, 2013, Plaintiff met with Provost at which time Provost admitted to
 having KELLYE KEEGAN make the unauthorized copies of Mariposa at the request of the
 MARCOVITCHS.
         27.      PROVOST’S admission indicates the egregious and willful nature of DEFENDANTS’
 acts and the overt disregard for the Plaintiff’s copyright contained therein.
         28.      Plaintiff made attempts to reconcile with PROVOST who agreed to commission four (4)
 Mariposa paintings that would replace the four unauthorized copies.
         29.      Additionally, on April 10, 2013 PROVOST agreed to remove images of the unauthorized
 copies of the Mariposa from all online and print media as well as have the design re-photographed with
 the four (4) authentic commissioned paintings.
         30.      Despite the arrangements Plaintiff made with PROVOST the infringements ensued. The
 commissioned Mariposas did not replace the unauthorized copies, which remain in the possession of the
 MARCOVITCHS and continue to be featured in print and online media.
         31.      PROVOST instead utilized at least one of the replacement Mariposas in a room design
 submitted to American Society of Interior Designers, Florida South (referred to hereafter as “ASID”) for
 entry in a design competition. The submitted design garnered PROVOST and K2 DESIGN GROUP, INC.
 the 2014 Design Excellence award for 5A Renovation Residential over 5,000 sq ft. (SEE EXHIBIT “D”)
         32.      In the case of Crescendo, PROVOST copied an image of the artwork from the
 dlwatsonart.com website without Plaintiff’s approval.
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          33.       PROVOST used the copied image of Crescendo in the 3D artist rendering of a proposed
 design which PROVOST featured on her website and on social media.
          34.       Plaintiff is seeking actual damages and profits herein and reserves the right to elect to
 recover an award of statutory damages for all infringements involved in the action pursuant to 17 U.S.C.
 § 504.
                    WHEREFORE, Plaintiff prays for judgment in Plaintiff’s favor and against the
                Defendant as follows:
          a. For an order, pursuant to 17 U.S.C.A. § 502, temporarily enjoining Defendants until this
                action is resolved, from infringing, inducing infringement of, and contributing to the
                infringement of Plaintiff’s copyrighted works;
          b. For an order, pursuant to 17 U.S.C.A. § 502, permanently enjoining Defendants, including
                their agents, officers, employees, assigns, subsidiaries, and others acting in concert with
                them, from infringing , inducing infringement of, and contributing to the infringement of
                Plaintiff’s copyrighted works;
          c. An award, pursuant to 17 U.S.C.A. § 504(b), of actual damages suffered by Plaintiff as a
                result of the infringements, and any profits of the infringements, and any profits of the
                infringer that are attributable to the infringement and are not taking into account in computing
                the actual damages.
          d. Recovery of full costs, including an award of reasonable attorney fees, pursuant to 17
                U.S.C.A § 505.
          e. For prejudgment and post-judgment interest on the damages awarded; and
          f.    For such other and further relief as this Court may deem equitable.
                            COUNT III: VICARIOUS COPYRIGHT INFRINGEMENT


          35.       Plaintiff restates Paragraphs 1 thru 17 as if fully plead herein.
          36.       Plaintiff is the owner of Mariposa as shown in more detail above and in EXHIBIT “A”.
          37.       Without authorization, Defendants’ have vicariously infringed Plaintiff’s copyrights by
 profiting directly from the copying of constituent elements of Plaintiff’s works that are original, when
 such infringement was performed by individuals Defendant had a right and ability to supervise, including
 but not limited to Defendant’s SUSAN and LEONARD MARCOVITCH.
          38.       MARCOVITHS committed multiple acts of infringement that occurred on different
 occasions.
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         39.      Defendants had knowledge that their conduct represented infringement or recklessly
 disregarded possibility of infringement.
         40.      Even after receiving notice from the copyright owner Defendants continued to engage in
 additional and further acts of vicarious infringement.
         41.      Although Plaintiff is seeking actual damages and profits herein, Plaintiff reserves the
 right to elect to recover an award of statutory damages for all infringements involved in the action
 pursuant to 17 U.S.C. § 504.
                  WHEREFORE, Plaintiff prays for judgment in Plaintiff’s favor and against the
               Defendant as follows:
                  a. For an order, pursuant to 17 U.S.C.A. § 502, temporarily enjoining Defendants until
                       this action is resolved, from infringing, inducing infringement of, and contributing to
                       the infringement of Plaintiff’s copyrighted works;
                  b. For an order, pursuant to 17 U.S.C.A. § 502, permanently enjoining Defendants,
                       including their agents, officers, employees, assigns, subsidiaries, and others acting in
                       concert with them, from infringing, inducing infringement of, and contributing to the
                       infringement of Plaintiff’s copyrighted works;
                  c. An award, pursuant to 17 U.S.C.A. § 504(b), of actual damages suffered by Plaintiff
                       as a result of the infringements, and any profits of the infringements, and any profits
                       of the infringer that are attributable to the infringement and are not taking into
                       account in computing the actual damages.
                  d. Recovery of full costs, including an award of reasonable attorney fees, pursuant to 17
                       U.S.C.A § 505.
                  e. For prejudgment and post-judgment interest on the damages awarded; and
                  f.   For such other and further relief as this Court may deem equitable.
                                            COUNT IV: CONVERSION


         2.       Defendant PROVOST is in violation of Florida Statute § 772.11.
         3.       On April 10, 2014 Plaintiff and PROVOST met and made arrangements regarding
 PROVOST’S use of several of Plaintiff’s artworks.
         4.       On May 20, 2014 Plaintiff loaned PROVOST the painting titled Staccato, which has a
 retail value of two thousand nine hundred dollars ($2900). While on loan Staccato was to be showcased
 and photographed in a room PROVOST was designing (SEE EXHIBIT “E”).
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         5.         Subsequent to the loan period, Plaintiff contacted PROVOST and issued several written
 requests for PROVOST to return the Staccato. However, PROVOST failed to respond and has
 intentionally exercised control over Plaintiff’s property thereby interfering with Plaintiff’s right to control
 her artwork.
         6.         Plaintiff is the creator and owner of Staccato and has neither sold nor gifted the property
 to PROVOST; Plaintiff therefore has an immediate possessory right to the property Staccato.
         7.         PROVOST has not purchased Staccato, has refused requests to have the Staccato picked
 up by Plaintiff, and as of the date of this complaint has not returned Staccato to Plaintiff.
                    WHEREFORE, Plaintiff pray for judgment in Plaintiff’s favor and against the Defendant
                as follows:
                    a. For an award, pursuant to Florida Statute § 772.11 for treble damages suffered by
                        Plaintiff as a result of the conversion;
                    b. Recovery of full court costs, including an award of reasonable attorney fees, pursuant
                        to Florida Statute § 772.11;
                    c. For prejudgment and post-judgment interest on the damages awarded; and
                    d. For such other and further relief as this Court may deem equitable.


                                                         JURY DEMAND


         Plaintiff requests a jury trial on all issues so triable.


         Respectfully submitted on May 13, 2015 by Attorney for Plaintiff


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